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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


OSCAR INSURANCE COMPANY OF
FLORIDA,

                     Plaintiff,

v.                                                     Case No: 6:18-cv-1944-Orl-40TBS

BLUE CROSS AND BLUE SHIELD OF
FLORIDA, INC., FLORIDA HEALTH
CARE PLAN INC. and HEALTH
OPTIONS INC.,

                     Defendants.
                                         /

                                         ORDER

      This matter comes before the Court on Plaintiff’s Motion for Expedited Briefing

(Doc. 13). The Court finds that additional briefing is necessary, and now sets forth a

briefing schedule.

      Accordingly, it is hereby ORDERED AND ADJUDGED that:

      1. Plaintiff’s Motion for Expedited Briefing (Doc. 13) is GRANTED IN PART and

          DENIED IN PART.

             a. The Motion is GRANTED as follows:

                     i. On or before Friday, November 30, 2018, Defendants shall file

                         one consolidated     response to the Motion        for Expedited

                         Scheduling Conference and Entry of Scheduling Order (Doc. 12

                         (“Motion for Expedited Scheduling”)) and include any

                         opposing declarations or affidavits. See Local Rule 3.01(f).

             b. The Motion is otherwise DENIED.
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      2. Plaintiff is DIRECTED to immediately serve on Defendants: (1) copies of the

          Complaint and its exhibits; (2) a copy of the Motion for Preliminary Injunction

          (Doc. 11); (3) a copy of the Motion for Expedited Scheduling (Doc. 12); and (4)

          a copy of this Order. Plaintiff is further DIRECTED to file proof of service on or

          before Wednesday, November 28, 2018.

      DONE AND ORDERED in Orlando, Florida on November 26, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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